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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO: 1:09-CV-10338

‘J¢*1\'***~J¢*****‘J¢***********************

BARRY DONAGHEY &
DIANE DONAGHEY,
Plaintiffs,

V' l l ` " \T"""li
BUFFALo BILLS, INC, , ‘ l_--

THE APEx GRoUP, INC. & ;~;M._“;,
CoNTEMPoRARY SERVICES CORP. . ; "

 

Defendants,

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STIPULATION OF DISMISSAL

The plaintiffs in the above captioned matter hereby voluntarily stipulate that the actions of Barry
Donaghey and Diane Donaghey against Buffalo Bills, Inc., The Apex Group, lnc. and
Contemporary Services be dismissed with prejudice, pursuant to FRCP Rule 41(a)(1), without

costs and waiving all rights of appeal.

The Plaintiffs,
Barry Donaghey & Diane

   

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2 . ’ -’\‘ 1n Street

‘¢um, Ma. 01301
BBo # 546346
(731)933-5220

Date: 5/13/09

